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                IN THE UNITED STATES DISTRICT COURT FOR THE
               NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

RANDY R. LIEBICH                                       )
                                                       )
        Plaintiff,                                     )
                                                       )
v.                                                     )
WARDEN MARCUS HARDY; ALBERT J.
                                                       )
                                                       )    11-cv-05624
KISSELL; N. JACKSON; JOHNNIE L.
FRANKLIN; CHARLES P. FREDERICK;
                                                       )
                                                            Judge Robert W. Gettleman
ILLINOIS DEPARTMENT OF CORRECTIONS;
                                                       )
WEXFORD HEALTH SOURCES, Inc.;
                                                       )    Mag. Judge Mary M. Rowland
PARATHASARATHI GHOSH, M.D.; LIPING                     )
ZHANG, M.D.; RONALD SCHAEFER, M.D.;                    )
SALEH OBAISI, M.D.                                     )
                                                       )
        Defendants.                                    )
                                                       )


       WEXFORD DEFENDANTS' ANSWER AND AFFIRMATIVE DEFENSES TO
                PLAINTIFF'S THIRD AMENDED COMPLAINT

         NOW COME Defendants, Wexford Health Sources, Inc., Dr. Parathasarathi Ghosh,

 Dr. Liping Zhang, Dr. Ronald Schaefer, and Dr. Saleh Obaisi, (collectively "Defendants"), by

 and their attorney, James C. Vlahakis, and for their Answer and Affirmative Defenses to

 Plaintiff's Third Amended Complaint, state as follows:

                                            The Parties

        1.      At all times relevant to the events at issue in this case, Plaintiff Randy Liebich is
and was incarcerated by the State of Illinois and held by the Illinois Department of Corrections
(“IDOC”) at Stateville Correctional Center (“Stateville”). Plaintiff has never before been a party
to any prior civil actions.

        ANSWER:        Defendants admit that Plaintiff was incarcerated at Stateville Correctional

Center at the time relevant to this complaint. Further answering, Defendants lack knowledge or

information sufficient to form a belief about the truth the remaining allegations in this paragraph.
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      2.     At all times relevant to the events at issue in this case, Defendant Hardy was
employed by the IDOC in the capacity of Warden of Stateville Correctional Center. As such,
Defendant Hardy was acting under color of law.

       ANSWER:         Defendants that Defendant Hardy was employed by the IDOC in the

capacity of Warden of Stateville Correctional Center and that as a general matter he acted under

color of law. Defendants lack knowledge or information sufficient to form a belief about the

truth the remaining allegations in this paragraph.

        3.     At all times relevant to the events at issue in this case, Defendant Hardy
promulgated rules, regulations, policies, and procedures as Warden of Stateville Correctional
Center for the provision of certain medical care, including medical screening of inmates at
Stateville and for investigating and responding to inmate complaints and grievances relating to
medical care. Defendant Hardy’s policies were implemented by and through IDOC employees
including certain individual Defendant medical care providers, who were responsible for the
medical care of inmates at Stateville, including Plaintiff.

       ANSWER:         Defendants lack knowledge or information sufficient to form a belief

about the truth the allegations in this paragraph.

        4.      At all times relevant to the events at issue in this case, Defendant Hardy had
responsibility, inter alia, for ensuring that the practices of Stateville Correctional Center
complied with federal and state requirements for the treatment of inmates. Throughout his tenure
as warden, he had personal knowledge that the conditions of confinement challenged in this case
were being imposed on inmates at Stateville, including Plaintiff, and he implemented, enforced,
and/or condoned these conditions. Defendant Hardy is being sued in his official and individual
capacities for the challenged conditions of confinement.

       ANSWER:         Defendants admit that Defendant Hardy is being sued in his official and

individual capacities for the challenged conditions of confinement and admit that he had some

level of responsibility for ensuring that the practices of Stateville Correctional Center complied

with federal and state requirements for the treatment of inmates. Defendants lack knowledge or

information sufficient to form a belief about the truth the remaining allegations in this paragraph.

       5.     At all times relevant to the events at issue in this case, Defendants Kissell,
Jackson, Franklin, and Frederick were employed by the IDOC and worked at Stateville. As
such, Defendants Kissell, Jackson, Franklin, and Frederick were acting under color of law.
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       ANSWER:         Defendants lack knowledge or information edge sufficient to form a belief

about the truth the allegations in this paragraph.

        6.      Illinois Department of Corrections (“IDOC”) is an agency of the State of Illinois
that operates the State’s prison system.

       ANSWER:         Defendants admit the above allegations.

       7.      At all times relevant to the events at issue in this case, Defendant Wexford Health
Sources, Inc. (“Wexford”) was engaged in the business of providing medical care and treatment
to inmates, including Plaintiff, at Stateville Correctional Center, and had contracted with the
IDOC to perform such services. As such, Wexford was acting under color of law.

       ANSWER:         Defendants admit that Defendant Wexford Health Sources, Inc.

(“Wexford”) had contracted with the IDOC to provide medical care and treatment to inmates by

and through Wexford and IDOC employees and admit that Wexford was acting under color of

law.

       8.       At all times relevant to the events at issue in this case, in its capacity as a
contractor to the IDOC, Wexford promulgated rules, regulations, policies, and procedures for the
medical screening, medical treatment, and overall medical care of inmates at Stateville
Correctional Center, including Plaintiff. Wexford policies were implemented by and through its
employees and the employees of the IDOC, including the individual Defendant medical care
providers and the individual Defendant correctional officers, who were responsible for the
medical care of inmates at Stateville.

       ANSWER:         Objection, this Paragraph is vague and overly broad. No alleged rules,

regulations, policies, and procedures for the medical screening, medical treatment, and overall

medical care are identified. Accordingly, Defendants lack knowledge or information sufficient to

form a belief about the truth the allegations in this paragraph.

       9.      At all times relevant to the events at issue in this case, Defendant Dr. Ghosh was
one of the treating physicians at Stateville and its Medical Director. In his capacity as Medical
Director, Dr. Ghosh promulgated rules, regulations, policies, and procedures for the medical
screening, medical treatment, and overall medical care of inmates at Stateville Correctional
Center, including Plaintiff. Dr. Ghosh is being sued in his official and individual capacities.
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       ANSWER:         Defendants admit that Dr. Ghosh was the Medical Director at Stateville

until March 31, 2011 and admit that he is being sued in his official and individual capacities.

Defendants deny the remaining allegations in this paragraph.

        10.   At all times relevant to the events at issue in this case, Defendants Dr. Ghosh,
Dr. Zhang, Dr, Schaefer, and Dr. Obaisi were employed by Wexford or by the IDOC to provide
medical services to inmates, including Plaintiff, at Stateville. As such, Defendants Dr. Ghosh,
Dr. Zhang, Dr, Schaefer, and Dr. Obaisi were acting under color of law and within the scope of
their employment with Wexford or the IDOC.

       ANSWER:         Defendants admit that Dr. Ghosh, Dr. Zhang, Dr, Schaefer, and Dr. Obaisi

were employed by Wexford during the time period relevant to Plaintiff's complaint and that they

were acting under color of law.        Defendants deny that they were employed by IDOC.

Defendants lack knowledge or information sufficient to form a belief about the truth the

remaining allegations in this paragraph as this paragraph improperly incorporates numerous so-

called "events."

                                     Jurisdiction and Venue

        11.     This action is brought pursuant to 42 U.S.C. Section 1983 to redress the
deprivation under color of law of Plaintiff’s rights as secured by the United States Constitution.
This Court has jurisdiction of the action pursuant to 28 U.S.C. §§ 1331 and 1367. Venue is
proper under 28 U.S.C. § 1391(b). On information and belief, at least one Defendant resides in
this judicial district, and the events giving rise to the claims asserted herein all occurred within
this district.

       ANSWER:         Defendants admit that subject matter jurisdiction and venue are proper and

admit that this action is brought pursuant to 42 U.S.C. Section 1983 to redress the alleged

deprivation under color of law of Plaintiff’s rights as secured by the United States Constitution.

                                       Factual Allegations

         12. Plaintiff began serving his sentence at Stateville in 2005. By September of 2009
 Plaintiff began experiencing chronic and severe pain in his abdomen and kidneys.
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       ANSWER:         Defendants lack knowledge or information sufficient to form a belief

about the truth as to the first sentence of this this paragraph. Defendants deny that Plaintiff

began experiencing chronic and severe pain in his abdomen and kidneys in or around September

of 2009.

        13.    By November 4, 2009 Plaintiff began requesting medical treatment from
Stateville medical staff for his pains.


       ANSWER:         Defendants lack knowledge or information sufficient to form a belief

about the truth the allegations in this paragraph as Plaintiff has not identify any particular

Stateville medical staff.

       14.     From November 2009 until present, Plaintiff has continuously requested that
the Stateville medical staff, including Dr. Ghosh, Dr. Zhang, Dr. Schaefer, and Dr. Obaisi as
employees and/or agents of Wexford and/or IDOC, provide treatment for his medical condition.
These requests have been made via policies established by Warden Hardy and/or by Wexford
as well as through formal grievances.

       ANSWER:         Defendants deny these allegations with the exception of admitting that

Plaintiff has submitted grievances and that he described certain medical issues during visits

which are documented in Defendant's progress notes.         Defendants, however, deny having

personal knowledge of his various grievances.

       15.    From November 2009 until present, Stateville medical staff has provided only
cursory treatment; specifically the Defendants consistently refused Plaintiff’s requests for
medical treatment, referrals to a urology specialist, and administration of necessary prescription
medications.

       ANSWER:         Defendants deny these compound allegations.

       16.     From November 2009, until present, Plaintiff has made verbal and written
requests upon Defendants and has filed formal grievances regarding Plaintiff’s medical
condition, his ongoing pain, and the failure to provide and administer medication prescribed by
licensed doctors to treat Plaintiff’s conditions.

       ANSWER:         Defendants lack knowledge or information sufficient to form a belief

about the truth the allegations in this paragraph with the exception of admitting that Plaintiff
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described certain medical issues during visits which are documented in Defendant's progress

notes and admitting that Plaintiff has submitted grievances regarding his medical care.

Defendants, however, deny having personal knowledge of his various grievances.

       17.    Upon information and belief, all grievances made and/or filed were ignored
or wrongfully denied. Accordingly, it is established that Plaintiff has taken proper action to
exhaust his administrative remedies.

       ANSWER:         Defendants lack knowledge or information sufficient to form a belief

about the truth the allegations in this paragraph. Accordingly, Defendants can neither admit or

deny whether Plaintiff has taken proper action to exhaust his administrative remedies.

        18.     Defendants have, and continue to, deliberately deny Plaintiff adequate treatment
in that they have either failed to conduct further diagnostic testing, timely refer him to a
specialist, timely schedule follow-up appointments with appropriate specialists, provide and
administer medication to relieve pain, and refused to provide and administer medications
prescribed by urology specialists to treat Plaintiff’s condition.

       ANSWER:         Defendants deny these compound allegations.

         19.     On November 4, 2009, Plaintiff was seen by Dr. Zhang for his abdominal and
kidney pain. Dr. Zhang ordered lab tests and gave Plaintiff a pill, Donnatal, which provided no
relief for Plaintiff’s severe pain.

       ANSWER:         Defendants admit that Plaintiff was seen by Dr. Zhang on November 9,

2009 at which lab tests were ordered and Donnatal was given. Defendants deny the remaining

allegations of this paragraph.

        20.   On November 10, 2009, Plaintiff was seen by Dr. Zhang for abdominal and
kidney pain. Dr. Zhang merely pressed on Plaintiff’s abdomen and lower back with her fingers
and indicated that she didn’t feel anything abnormal, so it was not anything serious. No
further medical care was provided at this time.

       ANSWER:         Defendants admit that Plaintiff was seen by Dr. Zhang on November 10,

2009 and that her progress notes indicate that Plaintiff complained of lower abdominal pain.

Defendants deny the remaining allegations of this paragraph.
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       21.     On November 15, 2009 Plaintiff’s lab tests results came back showing multiple
abnormal readings, including elevated blood-urea-nitrogen (“BUN”) and creatinine levels, both
of which are indications of kidney distress and/or other kidney complications.

       ANSWER:         Defendants admits that Plaintiff underwent lab tests as a result from

November 10, 2009 appointment with Dr. Zhang and that Plaintiff's creatine and BUN/creatine

ratio levels were out of the referenced range which may be an indication of a medical issue,

including, but not limited to kidney issues and dehydration. Defendants deny the remaining

allegations of this paragraph.

        22.    On or about December 3, 2009, Plaintiff further requested that Dr. Zhang then
refer him to a specialist and prescribe him medication to relieve his pain. Dr. Zhang refused
these requests and instead ordered another lab test. This lab test’s results also yielded
multiple abnormal readings.

       ANSWER:         Defendants admit that a second lab test was ordered and that the results

yielded creatine and BUN/creatine ratio levels outside the referenced range. Defendants lack

knowledge or information sufficient to admit or deny the remaining allegations of this paragraph.

       23.     On December 3, 2009, Dr. Ghosh ordered a lab test which also was abnormal
with high levels of creatinine and a low BUN-Creatinine ratio.

       ANSWER:         Defendants admit that a lab test was ordered by Dr. Ghosh which was

administered on December 3, 2009, which identified creatine and BUN/creatine ratio levels

outside the referenced range. Defendants deny the remaining allegations.

       24.    Between November 4, 2009 and April 1, 2010, Plaintiff submitted numerous
medical requests to Dr. Zhang and Dr. Ghosh, requesting medical treatment for his painful
condition. However, most requests were not answered.

       ANSWER:         Defendants lack knowledge or information sufficient to form a belief

about the truth as to whether Plaintiff submitted "numerous" requests but deny that medical sick

call requests were ignored. Further answering, Defendants state that Medical record demonstrate

that Plaintiff was seen by Defendants Zhang and Ghosh.
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        25.    Upon information and belief, on or about April 1, 2010 Plaintiff’s counselor,
Ricky Bishop, informed Plaintiff that he “spoke to someone” at the Health Care Unit who
related that Plaintiff had already been seen for his complaining issues several times and there
was not going to be any further appointments made regarding the same issues.

       ANSWER:         Defendants lack knowledge or information sufficient to form a belief

about the truth the allegations in this paragraph.

       26.    Plaintiff filed a grievance on April 2, 2010 regarding the comment made by
Mr. Bishop and the failure to answer his medical requests. Plaintiff requested treatment for
his pain. The request was denied by the Grievance Officer based upon the fact that medical
furloughs had been scheduled previously.        However, these furloughs were actually
appointments to consult a cardiologist regarding matters not related to the abdominal and
renal pain the Plaintiff was experiencing. The denial was wrongfully confirmed by Warden
Hardy.

       ANSWER:         Defendants lack knowledge or information sufficient to form a belief

about the truth the allegations in this paragraph.

       27.   On April 26, 2010 Plaintiff filed another grievance asking for medical treatment
for his ongoing pain, explaining the previous furlough schedules and the need for new
appointments to address his abdominal and renal pain. This grievance was wrongfully
deemed “moot” by the grievance office in September 2010.

       ANSWER:         Defendants lack knowledge or information sufficient to form a belief

about the truth the allegations in this paragraph.

       28.    Thereafter, on May 22, 2010 Plaintiff was seen by Dr. Zhang at the Asthma Clinic
(for an evaluation of his condition of asthma). After informing Dr. Zhang that he was
continuing to experience abdominal and kidney pain, Dr. Zhang responded by prescribing
Excedrin Migraine and indicating that the medication would alleviate the kidney and abdominal
pain.

       ANSWER:         Defendants admit that progress notes indicate that Plaintiff was seen by

Dr. Zhang on May 22, 2010, for an asthma clinic visit at which time Excedrin Migraine was

prescribed. On information and belief, Dr. Zhang admits that Excedrin Migraine may have been

provided for Plaintiff's complained of conditions. The remaining Defendants lack knowledge or

information sufficient to form a belief about the truth the allegations in this paragraph.
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       29.     During the same consultation with Dr. Zhang on May 22, 2010, Plaintiff
requested that Dr. Zhang refer him to a urology specialist. Dr. Zhang responded that it “costs
too much money to see a specialist, and that the Stateville medical staff could not be sending
inmates out for every little thing, or symptom.” Dr. Zhang stated that for him to be referred to
a urology specialist, Plaintiff’s condition would need to be “life threatening.”

       ANSWER:           Defendant Zhang denies these compound allegations.         The remaining

Defendants lack knowledge or information sufficient to form a belief about the truth the

allegations in this paragraph.

        30.    By June 26, 2010 a kidney stone developed in Plaintiff’s kidney that was so large
it could not pass on its own via urination. It became lodged in plaintiff’s urethra, completely
obstructing urine flow. Plaintiff had not urinated in over 24-hours.

       ANSWER:           Defendants lack knowledge or information sufficient to form a belief

about the truth the allegations in this paragraph but admit that progress notes document Plaintiff's

subjective complaints.

       31.     At approximately 9:30 a.m. on June 26, 2010, Plaintiff was sent to the Health
Care Unit at which time Dr. Obaisi diagnosed Plaintiff’s condition as an “impacted urinary
calculus,” (more commonly referred to as a “kidney stone”) which was lodged inside the urethra.

       ANSWER:           Defendant Obaisi admits that he assessed Plaintiff with an “impacted

urinary calculus” on June 26, 2010. The remaining Defendants lack knowledge or information

sufficient to form a belief about the truth the allegations in this paragraph as they were not

present during this event.

       32.     Rather than sending Plaintiff to the local hospital for appropriate emergency
treatment, Dr. Obaisi attempted to surgically remove the kidney stone himself without first
providing Plaintiff any form of anesthesia, causing very severe pain and discomfort.

       ANSWER:           Defendant Obaisi admits that he attempted to remove the kidney stone

but denies the remaining allegations. The remaining Defendants lack knowledge or information

sufficient to form a belief about the truth the allegations in this paragraph as they were not

present during this event.
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        33.     Plaintiff had to repeatedly demand to be provided with anesthesia at which
time Dr. Obaisi decided to make several lidocaine injections into the tip of Plaintiff’s penis and
inside the urethra.

       ANSWER:         Defendant Obaisi admits that he injected Plaintiff's penis with lidocaine

and Toradol but denies the remaining allegations. The remaining Defendants lack knowledge or

information sufficient to form a belief about the truth the allegations in this paragraph as they

were not present during this event.

        34.     Dr. Obaisi inflicted further physical damage on June 26, 2010 by stretching open
Plaintiff’s urethra with a hemostat, causing a small tear at the opening of the urethra. Dr. Obaisi
also punctured Plaintiff with a pair of tweezers. All injuries caused bleeding.

       ANSWER:         Dr. Obaisi denies these allegations. The remaining Defendants lack

knowledge or information sufficient to form a belief about the truth the allegations in this

paragraph as they were not present during this event.

        35.      After unsuccessfully attempting to remove the kidney stone, and causing severe
pain and further damage to Plaintiff’s penis and urethra, over the objections of attending “Nurse
Tiffany,” Dr. Obaisi, with the request of “Nurse Tiffany,” decided that Plaintiff required
emergency treatment at St. Joseph Hospital, in Joliet, IL. However, Dr. Obaisi did not arrange
for Plaintiff to be transported for emergency medical care for several hours. Plaintiff was
placed in a “holding cage” from approximately 11:00 a.m. to 3:23 p.m. during which time
Plaintiff further suffered extreme pain and discomfort in his bladder and kidneys due to the
tremendous pressure from maintaining a full bladder for over 30 hours, in addition to the
injuries inflicted upon Plaintiff resulting from Dr. Obaisi’s surgical attempt to remove the kidney
stone.

       ANSWER:         Defendant Obaisi admits that he referred Plaintiff to St. Joseph Hospital

for further treatment. Further answering, Defendant Obaisi denies the remaining allegations of

this paragraph. The remaining Defendants lack knowledge or information sufficient to form a

belief about the truth the allegations in this paragraph as they were not present during this event.

        36.     Dr. Obaisi delayed Plaintiff’s emergency transport because of a policy at
Stateville which requires all employees to obtain authorization from the Medical Director
and/or Chief Administrative Officer before calling for emergency transport. This policy
caused unnecessary delay in Plaintiff’s emergency medical treatment and placed Plaintiff at
further risk of kidney damage where his bladder needed to be immediately drained.
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       ANSWER:         Defendants deny the allegations of this paragraph.

        37.    Upon information and belief, it took Dr. Obaisi approximately four hours to
obtain authorization for Plaintiff’s transport to St. Joseph Hospital.

       ANSWER:         Defendant Obaisi denies the allegations of this paragraph. The remaining

Defendants lack knowledge or information sufficient to form a belief about the truth the

allegations in this paragraph as they were not present during this event.

       38.    Once transported to Provena Saint Joseph Medical Center, a urology specialist,
Dr. Gregory Andros, determined that Plaintiff would have to be administered general anesthesia
and the kidney stone would have to be removed using a “laser procedure.”

       ANSWER:         Defendants lack knowledge or information sufficient to form a belief

about the truth the allegations in this paragraph as they were not present during this event but

admit that medical records demonstrate that on June 26, 2010 Plaintiff underwent the following

procedure under spinal anesthesia: cystoscopy, laser bladder calculi, stone extraction.

       39.    Plaintiff was discharged from Provena Saint Joseph Medical Center on June 27,
2010 and returned to Stateville the same day.

       ANSWER:         Defendants lack knowledge or information sufficient to form a belief

about the truth the allegations in this paragraph as they were not present during this event. .

       40.     On June 28, 2010, Plaintiff showed Dr. Ghosh the tear at the tip of the urethra
and the injection site below it (caused by Dr. Obaisi’s surgical attempts to remove the kidney
stone on June 26, 2010). Plaintiff complained of severe pain due to these injuries, however
Dr. Ghosh stated that the injuries would heal quickly and simply prescribed Motrin for the pain.

       ANSWER:         Defendants admit that Plaintiff saw Dr. Ghosh on June 28, 2010, at which

a burning sensation while urinating was noted for which Motrin and Pyridium were prescribed.

Defendant Ghosh denies seeing a tear at the tip of the urethra and the injection site below it.

The remaining Defendants lack knowledge or information sufficient to form a belief about the

truth the allegations in this paragraph as they were not present during this event..

       41.    On July 1, 2010, Plaintiff filed a grievance regarding the damage inflicted by
Dr. Obaisi and because of the failure to receive Motrin as prescribed by Dr. Ghosh. The
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Grievance Officer’s response indicated that Dr. Obaisi’s conduct was “normal procedure,” and
further conceded that Motrin was prescribed, but did not address the issue of the Plaintiff
having received any dosage of Motrin. Ultimately, with the confirmation of Warden Hardy, the
Grievance Officer dismissed the grievance.

       ANSWER:         Defendants lack knowledge or information sufficient to form a belief

about the truth the allegations in this paragraph.

      42.      On July 2, 2010, Plaintiff was seen by Dr. Ghosh for pain in his kidneys and
abdomen, irritation in his bladder and continued burning sensation when urinating.

       ANSWER:         Defendants admit that Plaintiff saw Dr. Ghosh on July 2, 2010, at which a

burning sensation while urinating was noted in progress notes. Defendants lack knowledge or

information sufficient to form a belief about the truth the remaining allegations in this paragraph.

        43.    Plaintiff informed Dr. Ghosh that he was not receiving the Motrin he had
previously prescribed. Dr. Ghosh declined to provide any medication for Plaintiff’s pain during
this visit.

       ANSWER:         Defendant Ghosh denies the allegations of this paragraph. The remaining

Defendants lack knowledge or information sufficient to form a belief about the truth the

remaining allegations in this paragraph.

         44.   At the same appointment on July 2, 2010, Plaintiff also requested that
Dr. Ghosh refer plaintiff for a follow-up treatment and/or consultation with a urology specialist
because Plaintiff was still experiencing complications from the June 26, 2010 procedures by
Dr. Obaisi and Provena Saint Joseph Medical Center. Dr. Ghosh refused and instead ordered a
lab test.

       ANSWER:         Defendants admit that Dr. Ghosh ordered a lab test. Further answering,

Defendant Ghosh denies the remaining allegations of this paragraph. The remaining Defendants

lack knowledge or information sufficient to form a belief about the truth the remaining

allegations in this paragraph.

        45.     On July 6, 2010, the lab test results yielded abnormal results, including high
levels of creatinine, albumin, and a low BUN/creatinine ratio.
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       ANSWER:         Defendants admit that the lab test results yielded albumin, creatine, and

BUN/creatine ratio levels outside the referenced range.        Defendants deny the remaining

allegations.

       46.     An attorney named Heather Kirkwood, who Plaintiff has remained in contact
with after she had reviewed his criminal conviction, made several attempts, via telephone, to
contact Stateville regarding Plaintiff’s medical issues and not receiving his prescribed
medications.

       ANSWER:         Defendants lack knowledge or information sufficient to form a belief

about the truth the allegations in this paragraph.

        47.    Upon information and belief, after Heather Kirkwood’s telephone calls,
Plaintiff began receiving his medication after spending approximately ten days in pain and at risk
of infection.

       ANSWER:         Defendants lack knowledge or information sufficient to form a belief

about the truth the allegations in this paragraph.

        48.     Upon information and belief, on July 20, 2010, Dr. Ghosh ordered another lab
test and this test also yielded abnormal results, including high BUN and creatinine levels.

       ANSWER:         Defendant admits that the lab test results yielded creatine and BUN levels

outside the referenced range Defendants deny the remaining allegations.

        49.     On August 10, 2010 Plaintiff was seen by Dr. Shaefer at the Asthma Clinic;
Plaintiff described his medical condition including chronic pain, trouble urinating and injuries
caused by Dr. Obaisi. Dr. Schaefer examined Plaintiff where he sustained the injuries caused by
Dr. Obaisi. Dr. Schaefer noted the injection site, but refused to provide Plaintiff any medical
treatment for his complaints despite Plaintiff’s insistence by responding, “We’re not going to
sit here and waste any more time talking about this, we’ve discussed it at length and this is not
what this appointment was about.”

       ANSWER:         Defendants admit that medical records show that Plaintiff saw Dr.

Schaefer on August 10, 2010, at which a physical examination was performed noting an injection

site. Defendant Shaefer denies the remaining allegations of this paragraph. The remaining

Defendants lack knowledge or information sufficient to form a belief about the truth the

remaining allegations in this paragraph.
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        50.   On August 13, 2010 Plaintiff filed a grievance against Dr. Ghosh, Dr. Zhang,
and Dr. Schaefer for ignoring and not documenting his medical complaints. After not
receiving any medical attention Plaintiff composed another grievance in the form of a letter
on August 29, 2010.

       ANSWER:         Defendants lack knowledge or information sufficient to form a belief

about the truth the allegations in this paragraph.

       51.    On September 6, 2010, Plaintiff sent an “emergency grievance” to Warden
Hardy complaining of severe pain in his abdomen, kidney, testicles, and bladder, swelling in his
abdomen and that he was unable to empty his bladder during urination. Plaintiff informed
Warden Hardy that the urine retention was placing him at risk of kidney damage and the medical
staff was denying him treatment for this condition. Plaintiff specifically requested medical
care at an outside hospital to diagnose and treat his condition. Warden Hardy denied the
grievance, deeming it a “non-emergency.”

       ANSWER:         Defendants lack knowledge or information sufficient to form a belief

about the truth the allegations in this paragraph.

        52.     On September 17, 2010, Plaintiff was seen by Dr. Ghosh and reported pain in
his side that radiated to his abdomen as well as trouble urinating and emptying his
bladder during urination. He also informed Dr. Ghosh that the kidney stones had begun to
re-develop. Dr. Ghosh allegedly referred Plaintiff to the Urology Clinic at University of
Illinois at Chicago (UIC) Hospital, located in Chicago, IL; and the appointment was allegedly
approved by Wexford on September 22, 2010. However, the appointment was never followed
through, that is Plaintiff was never transported to UIC Hospital for consultation.

       ANSWER:         Defendants admit that medical records reflect that Plaintiff saw Dr. Ghosh

on September 17, 2010, at which right sided flank and left sided abdominal pain noted. Further

answering, Dr. Ghosh referred Plaintiff to UIC. Further answering, Defendants lack knowledge

sufficient to form a belief about the truth of the remaining allegations of this paragraph and

therefore deny the same..

       53.    On September 22, 2010 Plaintiff sent another “emergency grievance” to Warden
Hardy requesting immediate medical care from an outside hospital. Plaintiff informed Warden
Hardy that he was in constant severe pain and could not urinate enough to empty his
bladder. The Grievance Officer responded to the grievance approximately 7 months later and
dismissed the grievance. Warden Hardy denied the grievance again, deeming it a “non-
emergency.”
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       ANSWER:         Defendants lack knowledge or information sufficient to form a belief

about the truth the allegations in this paragraph.

        54.    By September 25, 2010 Plaintiff had not urinated for 24 hours and was
admitted to the Stateville infirmary for 3 days where a catheter had to be installed so
Plaintiff’s bladder could drain. The need for catheterization and inability to urinate was
documented in Plaintiff’s medical chart.

       ANSWER:         Defendants admit that Plaintiff was admitted to the infirmary from

September 25, 2010, through September 27, 2010, during which a Foley Catheter was

administered. Further answering, Defendants lack knowledge or information sufficient to form a

belief about the truth the remaining allegations in this paragraph.

        55.   On January 5, 2011, Plaintiff was ordered by Defendant Kissell to provide a
urine specimen for purposes of drug testing. Defendant Kissell informed Plaintiff that he had
two hours to provide the urine specimen. Plaintiff informed Defendant Kissell that he had a
medical condition that affected his ability to urinate and that it may take him additional time to
produce a urine sample per Defendant Kissell’s orders. Defendant Kissell dismissed Plaintiff’s
concerns and informed Plaintiff that non-compliance would result is penalties, including
solitary confinement. Plaintiff indicated to Defendant Kissell that his medical records
contained information from physicians describing his inability to urinate normally.

       ANSWER:         Defendants lack knowledge or information sufficient to form a belief

about the truth the allegations in this paragraph.

        56.      On January 5, 2011, after multiple attempts to urinate, Plaintiff was unable to
produce the requested urine sample in the time period allotted. Defendant Kissell informed
Plaintiff that he was sentencing Plaintiff to disciplinary action including six months C grade
and six months of segregation. Plaintiff requested that he be allowed additional time to produce
a specimen due to his medical condition but Defendant Kissell denied Plaintiff’s request stating
that Plaintiff’s story was “bullshit.” Plaintiff requested that Defendant Kissell contact the health
care unit to verify his condition but Defendant Kissell refused to do so. Defendant Kissell stated
to Plaintiff that he was “going to seg” and that Plaintiff could “file a grievance.”

       ANSWER:         Defendants lack knowledge or information sufficient to form a belief

about the truth the allegations in this paragraph.

        57.     Upon information and belief, Defendant Kissell had a duty to investigate
Plaintiff’s claim that a medical condition prevented him from urinating in the allotted time, yet
he ignored that duty. In failing to investigate whether Plaintiff had a medical condition that
prevented him from urinating regularly, as well as in wrongfully punishing Plaintiff with, among
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other discipline, six months of C-grade and six months of segregation, Defendant Kissell acted in
conscious disregard for Plaintiff’s welfare.

       ANSWER:         Defendants lack knowledge or information sufficient to form a belief

about the truth the allegations in this paragraph.

        58.      On January 6, 2011, Defendant Jackson served Plaintiff with a disciplinary report
for his failure to timely provide a urine sample. Plaintiff informed Defendant Jackson about his
medical condition and told her that his condition could be verified by Stateville medical staff
and/or his medical records. Plaintiff requested that Defendant Jackson verify his condition and
that she assist him in securing this evidence for his upcoming hearing before the Adjustment
Committee since Plaintiff was housed in segregation and was unable to secure this evidence
himself.

       ANSWER:         Defendants lack knowledge or information sufficient to form a belief

about the truth the allegations in this paragraph.

        59.     Defendant Jackson informed Plaintiff that she was only there to serve him with a
disciplinary report and would not honor his requests.

       ANSWER:         Defendants lack knowledge or information sufficient to form a belief

about the truth the allegations in this paragraph.

        60.    On January 10, 2011, Plaintiff filed a grievance in response to the disciplinary
report he received for not producing a urine sample. The grievance indicated that his
difficulty urinating was documented in his medical records. Plaintiff requested: (1) he be
removed from segregation and be placed “back in Unit B;” (2) and that the disciplinary ticket
be expunged and removed from his “record.”

       ANSWER:         Defendants lack knowledge or information sufficient to form a belief

about the truth the allegations in this paragraph.

        61.     Plaintiff made several requests for copies of his medical records but all of these
requests went unanswered. Plaintiff also made several requests to the clerk of the law library for
access to his legal boxes stored at the library so that he could retrieve copies of grievances and
other documents that would substantiate his medical condition. These requests were ignored for
several months. Additionally, Plaintiff submitted a written request to the Adjustment Committee
that Dr. Ghosh and/or one of his medical technicians/assistants be called as witnesses at
Plaintiff’s upcoming hearing so that they could substantiate his medical condition but Defendants
Franklin and Frederick refused to call these witnesses at the hearing.
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       ANSWER:         Defendants lack knowledge or information sufficient to form a belief

about the truth the allegations in this paragraph.

       62.     On January 13, 2011, Plaintiff’s scheduled hearing in front of the Adjustment
Committee took place. The Adjustment Committee was composed of Defendants Franklin and
Frederick. Plaintiff’s request to dismiss the disciplinary report and expunge the charges were
denied based, in part, upon on the notion that Plaintiff had not offered proof of a health
condition affecting his ability to urinate. Plaintiff asked Defendants Franklin and Frederick why
he was not allowed to call witnesses at the hearing, nor offer his medical records as proof of his
medical condition, and he was informed by Defendant Franklin that this evidence was not
necessary because the disciplinary report spoke for itself. This final decision was approved by
Warden Hardy.

       ANSWER:         Defendants lack knowledge or information sufficient to form a belief

about the truth the allegations in this paragraph.

       63.     In failing to allow Plaintiff to call witnesses at the hearing, to offer his medical
records, or to otherwise determine whether Plaintiff had a legitimate medical condition that
prevented him from urinating regularly, Defendants Franklin and Frederick failed to intervene to
prevent Defendant Kissell from charging Plaintiff with disciplinary action that resulted in, among
other discipline, six months C-grade and six months of segregation. Defendants Franklin and
Frederick had a duty to allow Plaintiff to present such evidence. Defendants Franklin and
Frederick also had a reasonable opportunity in the form of the Adjustment Committee hearing to
prevent Plaintiff from being disciplined as a result of the faulty disciplinary report.

       ANSWER:         Defendants lack knowledge or information sufficient to form a belief

about the truth the allegations in this paragraph.

       64.     On January 19, 2011, Plaintiff received the final summary report issued by the
Adjustment Committee. This report indicated that Plaintiff had been found guilty of violating
the drug testing procedure and that he was being sentenced to six months of segregation, six
months good time revocation, 6 months of commissary restriction, six months of C-grade, and
six months of contact visit restriction. The guilty verdict was based on the materially false
statements by Defendants Franklin and Frederick indicating that Plaintiff “could not produce
proof of the medical condition he claimed he had,” and that Plaintiff’s “medical record has
nothing about Liebich having a urinating problem. Defendant Hardy approved the Adjustment
Committee’s final summary report on January 18, 2011.

       ANSWER:         Defendants lack knowledge or information sufficient to form a belief

about the truth the allegations in this paragraph.

      65.    On January 26, 2011, Plaintiff filed another grievance appealing the
Adjustment Committee’s Final Report, with firm evidence found in Plaintiff’s medical records
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composed by Plaintiff’s attending physicians indicating Plaintiff’s difficulty and even inability to
urinate. After further review, the Grievance Officer’s response to these grievances
recommended that Plaintiff’s disciplinary report be expunged. However, Warden Hardy, as the
final policy-maker, did not concur with the Grievance Officer’s recommendations and denied
the grievance, thus enforcing the disciplinary action for Plaintiff’s failure to produce a urine
sample on January 5, 2011.

       ANSWER:         Defendants lack knowledge or information sufficient to form a belief

about the truth the allegations in this paragraph.

        66.    On February 19, 2011 Heather Kirkwood wrote a letter to Warden Hardy in
which she expressed her concern for Plaintiff’s well-being. In her letter, Ms. Kirkwood
addressed Plaintiff’s inability to urinate and the subsequent disciplinary report for lack of
providing a urine sample on January 5, 2010. After further correspondence, and obtaining
Plaintiff’s medical records, Ms. Kirkwood sent specific evidence of Plaintiff’s difficulty
urinating found in the Physician’s notes of Plaintiff’s medical records to Warden Hardy.
Shortly following Heather Kirkwood’s correspondence with Warden Hardy, Plaintiff was sent
to UIC Hospital.

       ANSWER:         Defendants lack knowledge or information sufficient to form a belief

about the truth the allegations in this paragraph.

       67.     At no time did Defendant Hardy expunge Plaintiff’s disciplinary ticket. On June
3, 2011, the Administrative Review Board affirmed the denial of Plaintiff’s grievance.

       ANSWER:         Defendants lack knowledge or information sufficient to form a belief

about the truth the allegations in this paragraph.

       68.  On or about March 2, 2011, a computerized axial tomography (“CAT”) scan was
performed which revealed that Plaintiff had developed another kidney stone in one of his
kidneys.

       ANSWER:         Defendants lack knowledge or information sufficient to form a belief

about the truth the allegations in this paragraph.

        69.     On May 9, 2011, a procedure was conducted at UIC Hospital to look inside
Plaintiff’s urethra and bladder. The urology specialist diagnosed Plaintiff with a swollen
Prostate and prescribed medication to help Plaintiff urinate and to treat his Prostate condition.

       ANSWER:         Defendants lack knowledge or information sufficient to form a belief

about the truth the allegations in this paragraph.
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       70.     To date the Plaintiff has never received the medication prescribed by the
urology specialist at UIC Hospital on May 9, 2011.

       ANSWER:         Defendants lack knowledge or information sufficient to form a belief

about the truth the allegations in this paragraph.

       71.     Plaintiff has made numerous attempts to obtain this medication by informing the
medical staff, writing three letters to the Medical Director and sending another “emergency
grievance” to Warden Hardy. Warden Hardy denied the grievance, deeming it a “non-
emergency.”

       ANSWER:         Defendants lack knowledge or information sufficient to form a belief

about the truth the allegations in this paragraph.

        72.     In March, 2011, Plaintiff asked Defendant Franklin directly why he had issued an
Adjustment Committee report that contained the false statements referenced above. Defendant
Franklin responded that any evidence Plaintiff had to the contrary did not matter because
Plaintiff’s disciplinary ticket had been issued by Internal Affairs and that Defendant would not
simply “throw out” an Internal Affairs ticket.

       ANSWER:         Defendants lack knowledge or information sufficient to form a belief

about the truth the allegations in this paragraph.

        73.     Upon information and belief, Defendant Warden Hardy received at least four
grievances from Plaintiff regarding the medical care he received (or the lack thereof) at the hands
of the Wexford Defendants. Despite being made aware of the Wexford Defendants’ ongoing
deliberate indifference to Plaintiff’s serious medical condition, Defendant Hardy did nothing to
ensure that Plaintiff received the medical care that he required. Nor did Defendant Hardy do
anything to prevent the Wexford Defendants from inflicting further injury on Plaintiff by, among
other things, performing medical procedures for which they were wholly unqualified. Defendant
Hardy had the opportunity to intervene and prevent further harm to Plaintiff but failed to do so.

       ANSWER:         Defendants deny that they did not give Plaintiff adequate medical care.

Further answering, Defendants lack knowledge or information sufficient to form a belief about

the truth the remaining allegations in this paragraph.

        74.     Upon information and belief, Defendant Warden Hardy received at least three
grievances regarding the disciplinary report issued against Plaintiff, as well as the Adjustment
Committee hearing in which Plaintiff was barred from presenting evidence on his behalf.
Despite this knowledge, Defendant Hardy did nothing to prevent the disciplinary action taken
against Plaintiff. Indeed, despite the recommendation from a Grievance Officer that Plaintiff’s
disciplinary report should be expunged because his medical records clearly indicated that he has
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a medical condition that affects his ability to urinate, Defendant Hardy denied Plaintiff’s
grievances effectively enforcing the disciplinary action against him. Again, Defendant Hardy
had the opportunity to intervene and prevent further harm to Plaintiff but failed to do so.

       ANSWER:         Defendants lack knowledge or information sufficient to form a belief

about the truth the allegations in this paragraph.

       75.      In failing to act upon Plaintiff’s grievances, Defendant Hardy acted in conscious
disregard of, and with deliberate indifference to, Plaintiff’s welfare.

       ANSWER:         Defendants lack knowledge or information sufficient to form a belief

about the truth the allegations in this paragraph.

       76.    Upon information and belief, at all relevant times, Plaintiff’s condition had been
obvious and known by the Defendants yet the Defendants have deliberately denied and/or
delayed necessary and obvious medical care.

       ANSWER:         Defendants deny these allegations.

        77.    Upon information and belief, at all relevant times, the Defendants have known
Plaintiff’s need for the referral to a specialist to treat Plaintiff’s medical issues, however
Defendants have deliberately continued to deny and/or delayed such medical care.

       ANSWER:         Defendants deny these allegations.

        78.     Upon information and belief, at all relevant times, the Defendants have known of
Plaintiff’s need for having his prescribed medications to be administered, however Defendants
have continued to deny and/or delay the administering of such medications

       ANSWER:         Defendants deny these allegations.

        79.     Upon information and belief, at all relevant times, IDOC, Stateville, and/or
Defendant Hardy has a policy and/or practice of affirming all disciplinary tickets issued by
Internal Affairs

       ANSWER:         Defendants lack knowledge or information sufficient to form a belief

about the truth the allegations in this paragraph.

        80.      Upon information and belief, Plaintiff has suffered retaliation from employees
of Stateville including transfer to solitary confinement, for seeking medical care, and fighting
for civil rights via litigation.
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        ANSWER:        Defendants lack knowledge or information sufficient to form a belief

about the truth the allegations in this paragraph.

                                            Exhaustion

       81.     The Prison Litigation Reform Act, 42 U.S.C § 1997 (e)(a), provides that no
action be brought by a prisoner with respect to prison conditions until “such administrative
remedies as are available are exhausted.”

        ANSWER:        Defendants admit to the existence of The Prison Litigation Reform Act.

         82.     Plaintiff has exhausted all available administrative remedies by repeatedly
initiating formal grievance procedures in effort to obtain proper medical treatment. All of
Plaintiff’s grievances have been improperly denied.

        ANSWER:        Defendants deny these allegations.

                                              Count I

                      (42 U.S.C. § 1983 – Cruel and Unusual Punishment)
                                  (Defendant Warden Hardy)

        83.    Plaintiff incorporates each Paragraph of this Complaint as if restated fully herein.

        ANSWER:        Defendants make no answer to this paragraph as it is not directed toward

them.

      84.    The Eighth Amendment of the United States Constitution prohibits the Cruel
and Unusual Punishment of United States Citizens by the Federal Government.

        ANSWER:        Defendants make no answer to this paragraph as it is not directed toward

them.

       85.     As described more fully above, Defendant Hardy is liable in his individual
capacity for the violation of Plaintiff’s rights under the Eighth Amendment because he was
aware of Plaintiff’s serious medical needs and was deliberately indifferent to them, resulting in
harm to Plaintiff.

        ANSWER:        Defendants make no answer to this paragraph as it is not directed toward

them.

       86.     In addition, and also as described more fully above, Defendant Hardy is liable in
his official capacity as an IDOC final policy-maker for maintaining a widespread policy,
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practice, or custom at Stateville that was the moving force behind the violation of Plaintiff’s
Eighth Amendment rights as described in Counts II-VI of this complaint. Specifically,
Defendant Hardy maintained a policy, practice, or custom at Stateville of inadequately
investigating and responding to inmate complaints regarding medical care, thereby ensuring that
the actions of IDOC agents/employees responsible for providing medical care to inmates were
never subject to any meaningful scrutiny. In this way, Defendant Hardy acquiesced in,
encouraged, and/or authorized the very type of misconduct at issue in Counts II-VI.

        ANSWER:         Defendants make no answer to this paragraph as it is not directed toward

them.

                                             Count II

                       (42 U.S.C. § 1983 – Cruel and Unusual Punishment)
                                      (Defendant – Wexford)

        87.     Plaintiff incorporates paragraphs each paragraph of this Complaint as if restated
fully herein.

        ANSWER:         Defendants incorporate their answers to each paragraph of this Complaint

as if restated fully herein.

      88.    The Eighth Amendment of the United States Constitution prohibits the Cruel
and Unusual Punishment of United States Citizens by the Federal Government.

        ANSWER:         Admit.

        89.      Plaintiff’s rights under the Eighth Amendment to be free from Cruel and Unusual
Punishment by the State of Illinois has been abridged by Wexford’s deliberate indifference to
plaintiff’s serious medical needs.

        ANSWER:         Deny.

       90.     While in the custody of the State of Illinois, Plaintiff is restrained from caring for
himself and Wexford has deliberately delayed and/or deliberately denied medical care
necessary to alleviate obvious severe pain and suffering resulting from Plaintiff’s kidney stones
and urinary complications.

        ANSWER:         Deny.

        91.     At all times relevant to the events at issue in this Complaint, Defendant Wexford
was under contract to the State of Illinois, through the IDOC, to provide health care to inmates at
Stateville, including Plaintiff. In this capacity, Defendant Wexford acted under color of law, and
Wexford, as provider of healthcare services to inmates at Stateville, was responsible for the
creation, implementation, oversight, and supervision of all policies and procedures followed by
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Wexford and IDOC employees who were medical care providers to inmates incarcerated at
Stateville.

       ANSWER:         Defendants admit that Wexford contracts with the State of Illinois to

provide health care to inmates in the custody of IDOC and admits that it acted under color of law

but denies that Plaintiff or any inmate was a third party beneficiary to any contract. Defendants

deny that as provider of healthcare services to inmates at Stateville, Wexford was responsible for

the creation, implementation, oversight, and supervision of all policies and procedures which

may have been followed by Wexford employees and IDOC employees who were medical care

providers to inmates incarcerated at Stateville. Defendants deny that Plaintiff has properly pled a

policy and practice claim and further deny that Plaintiff was injured as a result of any so-called

policy and practice.

        92.    At all times relevant to the events at issue in this Complaint, Wexford maintained
a policy or procedure under which inmates with serious medical conditions, like Plaintiff, were
routinely denied access to proper or sufficient medical care. Wexford’s policies and procedures
resulted in the frequent failure and refusal of its employees to provide proper or adequate
medication and medical care to inmates. Wexford had a constitutional obligation to maintain and
provide continuing adequate and appropriate medical care and treatment of prisoners
incarcerated at Stateville. As a direct and proximate result of the unconstitutional policies and
procedures of Wexford, Plaintiff was deprived of his rights under the Eighth Amendment of the
United States Constitution.

       ANSWER:         Defendants admit admits that the Eighth Amendments implements a

constitutional obligation to provide constitutionally adequate medical care and treatment of

prisoners incarcerated at Stateville but denies the remaining allegations of this paragraph.

       93.     At all relevant times, Wexford, by and through its agents, knew of Plaintiff’s
need for specialized medical care, knew that failure to timely provide such care would
aggravate his medical conditions and injuries, and knew their failure to provide such care
would exacerbate severe pain and suffering caused by these medical conditions and injuries.
However, Wexford deliberately failed to take reasonable steps to ensure Plaintiff received the
medical care required.

       ANSWER:         Defendants deny these compound allegations.
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        94.      Upon information and belief, Wexford showed deliberate indifference to
Plaintiff’s serious medical needs by:

                (a)     having a policy that pressured and/or required defendants, as
                        employees and/or agents of Wexford, to deny necessary medical care
                        and treatment due to budgeting constraints;

                (b)     having a policy that caused unnecessary delay in Plaintiff’s emergency
                        medical transport on June 26, 2010.

        ANSWER:         Deny.

      95.      As a direct and proximate result of Wexford’s policies, Plaintiff’s serious
medical needs, and his pain and suffering have been exacerbated resulting in physical and
emotional injuries.

        ANSWER:         Deny.

                                             Count III

                       (42 U.S.C. § 1983 – Cruel and Unusual Punishment
                                     (Defendant – Dr. Ghosh)

        96.     Plaintiff incorporates each Paragraph of this Complaint as if restated fully herein.

        ANSWER:         Defendants incorporate their answers to each paragraph of this Complaint

as if restated fully herein.

      97.    The Eighth Amendment of the United States Constitution prohibits the Cruel
and Unusual Punishment of United States Citizens by the Federal government.

        ANSWER:         Admit.

        98.      Plaintiff rights under the Eighth Amendment to be free from Cruel and Unusual
Punishment by the State of Illinois have been abridged by Dr. Ghosh's deliberate indifference to
Plaintiff's serious medical needs.

        ANSWER:         Deny.

        99.     While in the custody of the State of Illinois, Plaintiff is restrained from caring for
himself and Dr. Ghosh has deliberately delayed and/or denied medical care necessary to
alleviate obvious severe pain and suffering resulting from known medical complications and
severe injuries.

        ANSWER:         Deny.
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       100. Dr. Ghosh, at all times relevant to this complaint, was an employee and/or
agent of Wexford and the Medical Director of Stateville Correctional Center.

       ANSWER:       Defendants admit that Dr. Ghosh was employed by Wexford as the

Medical Director at Stateville from June 23, 2003 through March 31, 2011.

       101. Upon information and belief, as Medical Director of Stateville, Dr. Ghosh
had final policy and decision making authority with regard to Plaintiff’s medical treatment and
care.

       ANSWER:       Deny.

        102. Dr. Ghosh caused Plaintiff’s constitutional injuries by deliberately failing to
take reasonable steps to ensure Plaintiff received the medical treatment and care necessary.

       ANSWER:       Deny.

       103.   Dr. Ghosh showed deliberate indifference to Plaintiff’s serious medical needs by:

              (a)    deliberately refusing to order additional diagnostic tests despite
                     Plaintiff’s lab results and symptoms;

              (b)    deliberately refusing to refer and transfer Plaintiff to a specialist who was
                     able to treat Plaintiff’s kidney stones and urinary complications;

              (c)    deliberately disregarding Plaintiff’s pain and suffering;

              (d)    deliberately disregarding the potential risk of damage to Plaintiff’s
                     kidneys from prolonged urine retention, caused by inability to urinate;

              (e)    deliberately failing to provide necessary and proper pain medication to
                     alleviate Plaintiff’s pain and suffering caused by his kidney stones and
                     unresolved urinary complication;

              (f)    approving, condoning and disregarding the denial of medication
                     treatment prescribed by doctors under his supervision;

              (g)    deliberately failing to provide more than just cursory medical treatment.

       ANSWER:       Deny.

        104. As a direct and proximate result of Dr. Ghosh’s deliberate indifference to
Plaintiff’s serious medical needs, and his pain and suffering have been exacerbated resulting
in physical and emotional injuries.

       ANSWER:       Deny.
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                                             Count IV

                       (42 U.S.C. § 1983 – Cruel and Unusual Punishment)
                                     (Defendant – Dr. Zhang)

        105.    Plaintiff incorporates each Paragraph of this Complaint as if restated fully herein.

        ANSWER:         Defendants incorporate their answers to each paragraph of this Complaint

as if restated fully herein.

      106. The Eighth Amendment of the United States Constitution prohibits the Cruel
and Unusual Punishment of United States Citizens by the Federal government.

        ANSWER:         Admit.

        107. Plaintiff’s rights under the Eighth Amendment to be free from Cruel and Unusual
Punishment by the State of Illinois have been abridged by Dr. Zhang’s deliberate indifference to
Plaintiff's serious medical needs.

        ANSWER:         Deny.

      108. Dr. Zhang, at all times relevant to this complaint, was an employee and/or agent
of Wexford and the Medical Director of Stateville Correctional Center.

        ANSWER:         Defendants admit that Dr. Zhang was employed by Wexford at the time

relevant to this complaint.

        109. While in the custody of the State of Illinois, Plaintiff is restrained from caring for
himself and Dr. Zhang has deliberately delayed and/or denied medical care necessary to alleviate
obvious severe pain and suffering resulting from known medical complications and severe
injuries.

        ANSWER:         Deny.

       110. Dr. Zhang caused Plaintiff’s constitutional injuries by deliberately failing to take
reasonable steps to ensure Plaintiff received the medical care he required.

        ANSWER:         Deny.

        111.    Dr. Zhang showed deliberate indifference to Plaintiff’s serious medical needs by:

                (a)     Prescribing medication that may have further aggravated Plaintiff’s
                        medical condition;
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                (b)     deliberately refusing to order additional diagnostic testing despite
                        Plaintiff’s prior lab tests’ results and symptoms establishing abnormalities;

                (c)     deliberately refusing to refer Plaintiff to the appropriate specialist who
                        would have been able to appropriately treat Plaintiff’s medical condition;

                (d)     deliberately disregarding the potential risk of damage to Plaintiff’s
                        kidneys from prolonged urine retention, caused by inability to urinate;

                (e)     deliberately failing to provide necessary and proper pain medication to
                        alleviate Plaintiff’s pain and suffering caused by his kidney stones and
                        unresolved urinary complication;

                (f)     approving, condoning and disregarding the denial of medication
                        treatment prescribed by doctors under his supervision;

                (g)     deliberately failing to provide more than just cursory medical treatment.

        ANSWER:         Deny.

       112. As a direct result of Dr. Zhang’s conduct towards the Plaintiff’s serious medical
needs, Plaintiff’s pain and suffering has been has needlessly been exacerbated, resulting in
physical and emotional injuries.

        ANSWER:         Deny.

                                              Count V

                       (42 U.S.C. § 1983 – Cruel and Unusual Punishment)
                                    (Defendant – Dr. Schaefer)

        113.    Plaintiff incorporates each Paragraph of this Complaint as if restated fully herein.

        ANSWER:         Defendants incorporate their answers to each paragraph of this Complaint

as if restated fully herein.

      114. The Eighth Amendment of the United States Constitution prohibits the Cruel and
Unusual Punishment of United States Citizens by the Federal government.

        ANSWER:         Admit.

        115. Plaintiff’s rights under the Eighth Amendment to be free from Cruel and Unusual
Punishment by the State of Illinois have been abridged by Dr. Schaefer’s deliberate indifference
to Plaintiff's serious medical needs.

        ANSWER:         Deny.
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       116. Dr. Schaefer, at all times relevant to this complaint, was an employee and/or
agent of Wexford and the Medical Director of Stateville Correctional Center.

       ANSWER:         Defendants admit that Dr. Schaefer was employed by Wexford at the time

relevant to this complaint.

        117. While in the custody of the State of Illinois, Plaintiff is restrained from caring for
himself and Dr. Schaefer has deliberately delayed and/or denied medical care necessary to
alleviate obvious severe pain and suffering resulting from known medical complications and
severe injuries.

       ANSWER:         Deny.

      118. Dr. Schaefer showed deliberate indifference to Plaintiff’s medical serious
medical needs by:

               (a)     deliberately refusing to perform more than a cursory examination;

               (b)     deliberately refusing to provide medical treatment to Plaintiff specific
                       to his complaints expressed to Dr. Schaefer on August 10, 2010;

               (c)     deliberately disregarding Plaintiff’s pain and suffering caused by his
                       unresolved medical condition;

               (d)     deliberately disregarding the potential risk of damage to Plaintiff’s
                       kidneys from prolonged urine retention;

               (e)     deliberately disregarding the potential risk of damage to Plaintiff’s
                       kidneys from prolonged urine retention, caused by inability to urinate;

               (f)     approving, condoning and disregarding the denial of medication treatment
                       prescribed by doctors under his supervision;

               (g)     deliberately failing to provide necessary and proper medication to alleviate
                       Plaintiff’s condition, including pain and suffering;

               (h)     deliberately failing to refer Plaintiff to the appropriate specialist who
                       would have been able to treat Plaintiff’s medical condition.

       ANSWER:         Deny.

        119. As a direct result of Dr. Schaefer’s conduct and deliberate indifference to
Plaintiff’s serious medical needs, Plaintiff’s pain and suffering has needlessly been exacerbated,
resulting in physical and emotional injuries.

       ANSWER:         Deny.
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                                             Count VI

                       (42 U.S.C. § 1983 – Cruel and Unusual Punishment)
                                     (Defendant- Dr. Obaisi)

        120.    Plaintiff incorporates each Paragraph of this Complaint as if restated fully herein.

        ANSWER:         Defendants incorporate their answers to each paragraph of this Complaint

as if restated fully herein.

      121. The Eighth Amendment of the United States Constitution prohibits the Cruel and
Unusual Punishment of United States Citizens by the Federal government.

        ANSWER:         Admit.

        122. Plaintiff’s rights under the Eighth Amendment to be free from Cruel and Unusual
Punishment by the State of Illinois have been abridged by Dr. Obaisi’s deliberate indifference to
Plaintiff's serious medical needs.

        ANSWER:         Deny.

      123. Dr. Obaisi, at all times relevant to this complaint, was an employee and/or agent
of Wexford and the Medical Director of Stateville Correctional Center.

        ANSWER:         Defendants admit that Dr. Obasi was employed by Wexford at the time

relevant to this complaint.

        124. While in the custody of the State of Illinois, Plaintiff is restrained from caring for
himself and Dr. Obaisi has deliberately delayed and/or denied medical care necessary to alleviate
obvious severe pain and suffering resulting from known medical complications and severe
injuries.

        ANSWER:         Deny.

        125. Dr. Obaisi caused Plaintiff’s constitutional injuries by attempting a surgical
procedure without necessary and appropriate medical instruments, in an effort to prevent sending
Plaintiff to an appropriate hospital to receive the emergency medical treatment Plaintiff required.

        ANSWER:         Deny.

        126.    Dr. Obaisi showed deliberate indifference to Plaintiff’s serious medical needs by:

                (a)     deliberately failing to timely transfer Plaintiff for emergency care by a
                        specialist capable of performing the necessary surgical treatment;
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               (b)    deliberately failing to provide necessary and proper anesthesia to alleviate
                      Plaintiff’s pain and suffering before attempting the surgical procedure;

               (c)    deliberately disregarding the potential risk of damage to Plaintiff’s
                      kidneys and prolonged urine retention;

               (d)    causing injuries to Plaintiff’s urethra as a direct result of his attempted
                      surgical procedure.

        ANSWER:       Deny.

        127. As a direct result of Dr. Obaisi’s conduct and deliberate indifference to Plaintiff’s
serious medical needs, Plaintiff’s pain and suffering has needlessly been exacerbated, resulting in
physical and emotional injuries.

        ANSWER:       Deny.

                                           Count VII

                                (42 U.S.C. § 1983 – Retaliation)
                                 (Defendant – Warden Hardy)

        128.   Plaintiff incorporates each Paragraph of this Complaint as if restated fully herein.

        ANSWER:       Defendants make no answer to this paragraph as it is not directed toward

them.

        129. The First Amendment of the United States Constitution prohibits Retaliation
against an incarcerated person preventing him from exercising his constitutional rights.

        ANSWER:       Defendants make no answer to this paragraph as it is not directed toward

them.

       130. Plaintiff’s rights under the First Amendment to be free from Retaliation by the
State of Illinois have been abridged by Warden Hardy’s denial of Plaintiff's grievances
addressing the discipline he received for his physical inability to produce a urine specimen upon
request.

        ANSWER:       Defendants make no answer to this paragraph as it is not directed toward

them.

      131. At all times relevant to this complaint, Warden Hardy was an employee of
IDOC and the Warden and/or Chief Administrative Officer at Stateville.
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        ANSWER:       Defendants make no answer to this paragraph as it is not directed toward

them.

        132. While in the custody of the State of Illinois, Plaintiff was disciplined and placed
in solitary confinement for six months following his physical inability to produce a urine
specimen on January 5, 2011. Plaintiff appropriately filed grievances addressing the discipline
he received and requested an expungement of such discipline by presenting firm evidence of
his medical condition and physical inability to urinate found in his medical records held by
Stateville.

        ANSWER:       Defendants make no answer to this paragraph as it is not directed toward

them.

       133. Upon information and belief, Warden Hardy’s retaliation was related to Plaintiff’s
numerous requests for medical care and grievances related to the Defendants’ failure to provide
necessary medical care filed between April 2, 2010 and January 5, 2011.

        ANSWER:       Defendants make no answer to this paragraph as it is not directed toward

them.

        134. Upon information and belief, retaliation was further evidenced by Warden
Hardy’s deliberate denial of Plaintiff’s request, and the Administrative Review Board’s
recommendation for expungement of discipline received following Plaintiff’s grievances
filed after January 5, 2011 addressing his medical condition and his inability to produce a
urine specimen.

        ANSWER:       Defendants make no answer to this paragraph as it is not directed toward

them.

        135. Upon information and belief, at all relevant times, by numerous grievances filed
and recommendations made by the Administrative Review Board, Warden Hardy was aware of
Plaintiff’s inability to urinate due to his medical condition. However, Warden Hardy
deliberately and willfully denied the Administrative Review Board’s recommendation, which
was based on firm evidence, addressing his physical inability to urinate.

        ANSWER:       Defendants make no answer to this paragraph as it is not directed toward

them.
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        136.   Warden Hardy, in his supervising and official capacity retaliated against Plaintiff
by:

               (a)    deliberately disregarding and/or denying Plaintiff’s grievances and/or
                      complaints expressly indicating Plaintiff was physically unable to produce
                      a urine specimen;

               (b)    deliberately and willfully disregarding the Administrative Review
                      Board’s recommendation based upon firm medical evidence;

               (c)    approving, condoning and recommending that Plaintiff remain in
                      solitary confinement, and denying Plaintiff’s request to expunge the
                      discipline received, despite Plaintiff’s physical inability to produce a urine
                      specimen.

        ANSWER:       Defendants make no answer to this paragraph as it is not directed toward

them.

        137. As a direct result of Warden Hardy’s acts and/or omissions, Warden Hardy denied
Plaintiff his constitutional rights including Plaintiff’s right to seek redress through the
administrative grievance process, by placing him in solitary confinement and not expunging the
discipline Plaintiff received, despite medical evidence proving Plaintiff’s physical inability to
urinate and the Administrative Review Board’s contradicting findings and recommendation to
expunge the discipline Plaintiff received. Accordingly, Plaintiff’s serious medical needs, and
his pain and suffering have been exacerbated resulting in physical and emotional injuries.

        ANSWER:       Defendants make no answer to this paragraph as it is not directed toward

them.

                                           Count VIII

                          (42 U.S.C. § 1983 – Failure to Intervene)
                       (Defendants – Hardy, Franklin, and Frederick)

        138.   Plaintiff incorporates each Paragraph of this Complaint as if restated fully herein.

        ANSWER:       Defendants make no answer to this paragraph as it is not directed toward

them.

       139. As described more fully above, Defendants Hardy, Frederick, and Franklin had a
reasonable opportunity to prevent the violation of Plaintiff’s constitutional rights as set forth
above had they been so inclined, but failed to do so.
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        ANSWER:       Defendants make no answer to this paragraph as it is not directed toward

them.

        140. Defendants’ actions were undertaken intentionally, with malice and with reckless
indifference to Plaintiff’s rights.

        ANSWER:       Defendants make no answer to this paragraph as it is not directed toward

them.

        141. As a direct and proximate result of the misconduct described in this Count,
Plaintiff’s rights were violated and he suffered physical and emotional injuries.

        ANSWER:       Defendants make no answer to this paragraph as it is not directed toward

them.

        142. Plaintiff’s injuries were caused by employees of IDOC and/or Wexford,
including, but not limited to, the individually named Defendants, who acted pursuant to the
policies and practices of IDOC and/or Wexford.

        ANSWER:       Defendants make no answer to this paragraph as it is not directed toward

them.

                                            Count IX

                        (42 U.S.C. § 1983 – Procedural Due Process)
                   (Defendants – Hardy, Kissell, Franklin, and Frederick)

        143.   Plaintiff incorporates each Paragraph of this Complaint as if restated fully herein.

        ANSWER:       Defendants make no answer to this paragraph as it is not directed toward

them.

        144. As described more fully above, Defendants Hardy, Kissell, Franklin, and
Frederick violated Plaintiff’s right to procedural due process by depriving Plaintiff of impartial
decision making in both the composition of and the process utilized by the Adjustment
Committee; by depriving Plaintiff of the right to call witnesses and/or present documentary
evidence at his Adjustment Committee hearing; and by publishing a final report recommending,
among other punishments, six months of segregation, when there was no evidence to support this
disciplinary verdict.
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        ANSWER:       Defendants make no answer to this paragraph as it is not directed toward

them.

        145. Defendants’ actions were undertaken intentionally, with malice and with reckless
indifference to Plaintiff’s rights.

        ANSWER:       Defendants make no answer to this paragraph as it is not directed toward

them.

        146. As a direct and proximate result of the misconduct described in this Count,
Plaintiff’s rights were violated and he suffered physical and emotional injuries.

        ANSWER:       Defendants make no answer to this paragraph as it is not directed toward

them.

                                            Count X

                           (42 U.S.C. §§ 12131-12134 – ADA Claim)
                                     (Defendant – IDOC)

        147.   Plaintiff incorporates each Paragraph of his Complaint as if restated fully herein.

        ANSWER:       Defendants make no answer to this paragraph as it is not directed toward

them.

       148. As described more fully above, Plaintiff suffers from a physical impairment that
substantially limits one or more of his life activities, including, the ability to relieve himself
normally.

        ANSWER:       Defendants make no answer to this paragraph as it is not directed toward

them.

         149. As described more fully above, this physical impairment prevents and/or severely
restricts Plaintiff from doing an activity that is of central importance to daily life.

        ANSWER:       Defendants make no answer to this paragraph as it is not directed toward

them.

       150. As described more fully above, Plaintiff sought a reasonable accommodation for
this physical impairment and one or more of the Defendants refused to provide Plaintiff with a
reasonable accommodation.
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        ANSWER:       Defendants make no answer to this paragraph as it is not directed toward

them.

        151. As a direct and proximate result of the misconduct described in this Count,
Plaintiff’s rights were violated and he suffered physical and emotional injuries.

        ANSWER:       Defendants make no answer to this paragraph as it is not directed toward

them.

         152. Plaintiff’s injuries were caused by employees of IDOC, including, but not limited
to, the individually named Defendants, who acted pursuant to the policies and practices of IDOC
and/or Stateville.

        ANSWER:       Defendants make no answer to this paragraph as it is not directed toward

them.

                                            Count XI

                         (29 U.S.C. § 794 – Rehabilitation Act Claim)
                                     (Defendant – IDOC)

        153.   Plaintiff incorporates each Paragraph of his Complaint as if restated fully herein.

        ANSWER:       Defendants make no answer to this paragraph as it is not directed toward

them.

       154. As described more fully above, Plaintiff suffers from a physical impairment that
substantially limits one or more of his life activities, including, the ability to relieve himself
normally.

        ANSWER:       Defendants make no answer to this paragraph as it is not directed toward

them.

         155. As described more fully above, this physical impairment prevents and/or severely
restricts Plaintiff from doing an activity that is of central importance to daily life.

        ANSWER:       Defendants make no answer to this paragraph as it is not directed toward

them.
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       156. As described more fully above, Plaintiff sought a reasonable accommodation for
this physical impairment and one or more of the Defendants refused to provide Plaintiff with a
reasonable accommodation.

        ANSWER:         Defendants make no answer to this paragraph as it is not directed toward

them.

        157. As a direct and proximate result of the misconduct described in this Count,
Plaintiff’s rights were violated and he suffered physical and emotional injuries.

        ANSWER:         Defendants make no answer to this paragraph as it is not directed toward

them.

         158. Plaintiff’s injuries were caused by employees of IDOC, including, but not limited
to, the individually named Defendants, who acted pursuant to the policies and practices of IDOC
and/or Stateville.

        ANSWER:         Defendants make no answer to this paragraph as it is not directed toward

them.

                                            Count XII

                  (State Law Claim – Willful and Wanton Misconduct)
  (Defendants – Hardy, Franklin, Frederick, Kissell, Ghosh, Zhang, Schaefer, and Obaisi)

        159.    Plaintiff incorporates each Paragraph of this Complaint as if restated fully herein.

        ANSWER:         Defendants incorporate their answers to each paragraph of this Complaint

as if restated fully herein.

       160. In the manner described more fully above, the actions of Defendants breached the
duty of care owed to inmates in their care. They did so by ignoring Plaintiff’s requests for
medical attention.

        ANSWER:         Deny.

       161. In the manner described more fully above, the actions of Defendants were willful
and wanton in that they demonstrated an utter indifference to the safety of others. Defendants
were aware that an injury would likely result from the above-described course of action and
recklessly disregarded the consequences of those actions.

        ANSWER:         Deny.
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      162. As a direct and proximate result of Defendants’ negligence and/or willful and
wanton misconduct, Plaintiff suffered tremendous pain and additional injury.

        ANSWER:         Deny.

                                            Count XIII

                            (State Law Claim – Ordinary Negligence)
                       (Defendants – Ghosh, Zhang, Schaefer, and Obaisi)

        163.    Plaintiff incorporates each Paragraph of this Complaint as if restated fully herein.

        ANSWER:         Defendants incorporate their answers to each paragraph of this Complaint

as if restated fully herein.

       164. In the manner described more fully above, the actions of Defendants Ghosh,
Zhang, Schaefer, and Obaisi breached the duty of care owed to inmates in their care. They did so
by ignoring Plaintiff’s requests for medical attention despite being aware that a serious injury
would likely result from their actions.

        ANSWER:         This Count is subject to a motion to dismiss.

       165. Defendants Ghosh, Zhang, Schaefer, and Obaisi breached the duty of care owed
to inmates in their care, were aware that an injury to Plaintiff would likely result from their
above-described course of actions, and recklessly disregarded the consequences of their actions,
separate and apart from any unreasonable application of their expertise in medicine.

        ANSWER:         This Count is subject to a motion to dismiss.

                                            Count XIV

                State Law Claim - Intentional Infliction of Emotional Distress)
                      (Defendants – Ghosh, Zhang, Schaefer, and Obaisi)

        166.    Plaintiff incorporates each Paragraph of this Complaint as if restated fully herein.

        ANSWER:         Defendants make no answer to this paragraph as it is not directed toward

them.

       167. In a manner described more fully above, by denying Plaintiff medical attention,
the Defendants Ghosh, Zhang, Schaefer, and Obaisi engaged in extreme and outrageous conduct.

        ANSWER:         This Count is subject to a motion to dismiss.

        168.    Defendants’ actions set forth above were rooted in an abuse of power or authority.
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        ANSWER:         This Count is subject to a motion to dismiss.

       169. Defendants’ actions set forth above were undertaken with intent or knowledge that
there was a high probability that the conduct would inflict severe emotional distress with reckless
disregard of that probability.

        ANSWER:         This Count is subject to a motion to dismiss.

       170. Defendants’ actions set forth above were undertaken with malice, willfulness, and
reckless indifference for the rights of others.

        ANSWER:         This Count is subject to a motion to dismiss.

       171. As a direct and proximate result of this misconduct, Plaintiff suffered injuries,
including severe emotional distress and great conscious pain and suffering.

        ANSWER:         This Count is subject to a motion to dismiss.

                                             Count XV

                               (State Law Claim – Respondeat Superior)
                                        (Defendant – Wexford)

        172.    Plaintiff incorporates each Paragraph of this Complaint as if restated fully herein.

        ANSWER:         Defendants incorporate their answers to each paragraph of this Complaint

as if restated fully herein.

       173. In committing the acts alleged above, Defendants Ghosh, Zhang, Schaeffer, and
Obaisi were employees and/or agents of Defendant Wexford Health Sources, Inc., acting at all
relevant times within the scope of their employment. As such, Defendant Wexford is liable as
principal for all torts committed by its employees and/or agents.

        ANSWER:         This Count is time-barred and is subject to a Motion to Dismiss.



                                    AFFIRMATIVE DEFENSES
        1.      Defendants cannot be held liable under the doctrine of respondeat superior for the

actions or inactions of others with respect to Plaintiff’s medical treatment.

        2.      Defendants at all relevant times acted in good faith performance of their

discretionary duties as medical personnel and are shielded from liability for civil damages
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because their conduct did not violate any clearly established statutory or constitutional rights of

the Plaintiff of which a reasonable person would have known and, therefore, are protected by the

doctrine of qualified immunity.

       3.      To the extent Plaintiff pleads issues against Defendants not contained in his

Administrative Review Board paperwork, he has failed to exhaust his administrative remedies,

either in whole or in part.

       4.      Plaintiff's state law claims are barred by Illinois two year statute of limitations.

       5.      Defendant Wexford cannot be held liable for tortious conduct of its employees

that are outside the scope of their duties. In particular, actions which may constate a claim of

wilful and wanton conduct and intentional infliction of emotional distress fall outside the scope

of the duties of a medical provider.

       6.      To the extent Plaintiff's negligence and willful and wanton claims are premised or

predicated on a theory of medical malpractice, they are barred because Plaintiff has failed to

submit a 622 affidavit pursuant to 735 ILCS 5/2-622.


       Defendants demand a jury trial.

                                            Respectfully Submitted

                                            By:     /s/ James C. Vlahakis
                                                  James C. Vlahakis
                                                  One of the Attorneys for
                                                  Defendants Ghosh, Zhang, Shaefer and Wexford.
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                               CERTIFICATE OF SERVICE

        I hereby certify that on October 19, 2013, I electronically filed the above document with
the Clerk of the Court using the CM/ECF system, which will send notification of such filing(s) to
all counsel of record.

/s/ James C. Vlahakis
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